          Case 18-54032-pmb                       Doc 6 Filed 03/08/18 Entered 03/08/18 07:31:33                           Desc Ch 7
                                                   First Meeting I/J No POC Page 1 of 2
Information to identify the case:
Debtor 1               Robin Alexandra Kemp                                                Social Security number or ITIN        xxx−xx−3851
                       First Name   Middle Name    Last Name                               EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                   Social Security number or ITIN _ _ _ _
(Spouse, if filing)    First Name   Middle Name    Last Name
                                                                                           EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                       Date case filed for chapter 7 3/7/18

Case number:          18−54032−pmb


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                            12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take
action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand
repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive
damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors
can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want
to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the
deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the
address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access
charges may apply. A free automated response system is available at 866−222−8029 (Georgia Northern). You must have case
number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document filed
with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a
Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the
court.
                                           About Debtor 1:                                       About Debtor 2:
1. Debtor's full name                      Robin Alexandra Kemp
2. All other names used in the
   last 8 years
3. Address                                 5253 Lyndale Circle
                                           Forest Park, GA 30297
4. Debtor's attorney                       Olivia R. Mooney
                                           The Semrad Law Firm, LLC
   Name and address                        303 Perimeter Center North, 201
                                           Atlanta, GA 30346

                                           Contact phone 678−673−2171
                                           Email: omooney@semradlaw.com
5. Bankruptcy trustee                      M. Denise Dotson                                      Contact phone (404) 210−0166
                                           M. Denise Dotson, LLC
   Name and address                        P.O. Box 435
                                           Avondale Estates, GA 30003
                                                                                                                   For more information, see page 2 >
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Debtor Robin Alexandra Kemp                                                                                     Case number 18−54032−pmb


6. Bankruptcy clerk's office                       M. Regina Thomas                                             Office Hours: 8:00 a.m. − 4:00 p.m.
                                                   Clerk of Court
    Documents in this case may be filed at                                                                      Court website: www.ganb.uscourts.gov
    this address. You may inspect all              1340 United States Courthouse
    records filed in this case at this office or   75 Ted Turner Drive SW
    online at www.pacer.gov.                                                                                    Contact phone 404−215−1000
                                                   Atlanta, GA 30303

7. Meeting of creditors                            April 11, 2018 at 09:30 AM                                   Location:

    Debtors must attend the meeting to be The meeting may be continued or adjourned to a                        Third Floor − Room 367, Russell Federal
    questioned under oath. In a joint case, later date. If so, the date will be on the court                    Building, 75 Ted Turner Drive SW,
    both spouses must attend. Bring a copy
    of this notice with you. Creditors may   docket.                                                            Atlanta, GA 30303
    attend, but are not required to do so.
    Cellular phones and other devices with TO THE DEBTOR: Bring an original government issued photo
    cameras are not allowed in the building. ID and confirmation of social security number. Provide the
                                             Trustee a copy of your most recently filed tax return seven days
                                             prior to the meeting, but DO NOT FILE WITH THE COURT.


8. Presumption of abuse                            The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                       File by the deadline to object to discharge or Filing deadline: 6/11/18
                                                   to challenge whether certain debts are
    The bankruptcy clerk's office must             dischargeable:
    receive these documents and any
    required filing fee by the following           You must file a complaint:
    deadlines.
                                                   • if you assert that the debtor is not entitled to
                                                     receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or

                                                   • if you want to have a debt excepted from discharge
                                                     under 11 U.S.C § 523(a)(2), (4), or (6).

                                                   You must file a motion:
                                                   • if you assert that the discharge should be denied
                                                     under § 727(a)(8) or (9).


                                                   Deadline to object to exemptions:                            Filing deadline: 30 days after the conclusion of
                                                   The law permits debtors to keep certain property as          the meeting of creditors
                                                   exempt. If you believe that the law does not authorize an
                                                   exemption claimed, you may file an objection.


10. Proof of claim                                 No property appears to be available to pay creditors. Therefore, please do not file a proof of
                                                   claim now. If it later appears that assets are available to pay creditors, the clerk will send you
    Please do not file a proof of claim            another notice telling you that you may file a proof of claim and stating the deadline.
    unless you receive a notice to do so.


11. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                        asking the court to extend the deadlines in this notice. Consult an attorney familiar with United
                                                   States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                                   sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                                   may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                                   that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                                   The bankruptcy clerk's office must receive the objection by the deadline to object to
                                                   exemptions in line 9.
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